
.Wright, J.,
delivered the opinion of the Court.
The decree of the Chancellor in ■ this; cause is .affirmed.
. It- appears in the. record,-.that . the-, complainant;and .John 'A.. Hollingsworth intermarried about' the-.rmpnth of- March, 1828, and- that some -six -or "eight -months after the marriage., Mr. Claiborne,- the father- of the complainant, . placed • in the -possession ■ of Hollingsworth .and wife, .a negro child named Matilda;- and the whole controversy here, is whether this slave became the property of Hollingsworth, -the husband, or the separate estate . of .complainant, his wife. If the title to this slave became vested in- the-husband, the defendants,. Mason .and Miller, have valid titles, and' complainant’s .case fails.. . -.
The whole-qase rests ' upon - the ' evidence : of O. T. Claiborne, a brother, of complainant. . He. proves’ that his father was opposed to the marriage.;pf,his; sister:'to Hollingsworth; and that after they - had .'been -.married some six or eight months,- his. fath.er' gave, -the-girl", Matilda, then a child,' to his sister; .. This' was ’ before ’ the passage of the act of 1831,- ch.' 90, .'and such 'a 'gift and delivery instantly vested the- property-in the wife, and the marital rights of Mr. Hollingsworth, the husband, immediately attached, and the slave, by law, became his property. The settled rule of law in this State, at that time, was, that when the father of the wife, aftgr *474the marriage, sent property, as negroes and the like, to his son-in-law and daughter, even without any explanation as to the manner in which they were to hold it, the law adjudged it a gift to the husband. This presumption arose from the relation of the parties. • And how much stronger is the rule in the case of a direct gift to either wife or husband?
There is no proof here, to show a separate estate in the wife. Such a claim is in derogation of the common law, and of the rights of the husband, and must be proved. This same witness proves that John A. Hol-lingsworth held and treated Matilda, as he did the other slaves that came by his wife, as his own.
We understand from the proof, that this gift of Mr. Claiborne was without any qualification. If so, the title was at once fixed in Hollingsworth, the husband; and no after acts or declarations of the donor could change the gift or the title. The fact that he, upon some occasions, for a day or two, resumed the possession, could not. Nor can the after declarations of the donor’s wife, the rumors of the neighborhood, or the fact that complainant is proved, upon some occasions, to have laid claim to this negro and the other slaves, have any effect upon the case.
We are satisfied that the husband always claimed and held Matilda 'and the other slaves, as his property until he sold them; and that, in law, they were his; and that to allow the complainant to recover them would be to contravene the settled rules of law, as established for years.
Indeed, if we could regard the mass of irrelevant evidence in this record, it is probable that complainant, at most, only claimed Matilda, as she did the other *475slaves, -because they bad come by her father; and that she had no idea of any separate estate.
The Chancellor’s decree is affirmed.
